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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9    RICHARD KIGGINS,                                    CASE NO. C20-1023-JCC
10                             Plaintiff,                 MINUTE ORDER
11            v.

12    HAL NEDERLAND N.V., a Curacao
      corporation, et al.,
13
                               Defendants.
14

15
             The following Minute Order is made by direction of the Court, the Honorable John C.
16
     Coughenour, United States District Judge:
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             This matter comes before the Court on the parties’ notice of stipulation and partial
18
     voluntary dismissal without prejudice (Dkt. No. 12). Having thoroughly considered the notice
19
     and the relevant record, the Court hereby ORDERS as follows:
20
        1. Plaintiff’s claims against Defendants Hal Nederland N.V.; Holland American Line –
21
             USA Inc.; Holland American Line Inc.; and Holland America Line USA, Inc. are
22
             DISMISSED without prejudice and those Defendants are dismissed from this action; and
23
        2. Plaintiff’s claims against Defendants Holland America Line N.V. and HAL Antillen N.V.
24
             remain pending.
25
        //
26


     MINUTE ORDER
     C20-1023-JCC
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            Case 2:20-cv-01023-JCC Document 13 Filed 08/28/20 Page 2 of 2




 1        DATED this 28th day of August 2020.

 2                                              William M. McCool
                                                Clerk of Court
 3
                                                s/Tomas Hernandez
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                                                Deputy Clerk
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     MINUTE ORDER
     C20-1023-JCC
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